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 1
     THOMAS A. JOHNSON, #119203
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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant, Joshua Ortega
 4
 5
                           IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                              )   Case No.: 2:08-cr-0417-MCE
     UNITED STATES OF AMERICA,                  )
 9                                              )   STIPULATION AND ORDER
                    Plaintiff,                  )   CONTINUING JUDGMENT AND
10                                              )   SENTENCING AND MODIFICATION
          vs.                                   )   OF SCHEDULE FOR PSR.
11   JOSHUA ORTEGA, et al.,                     )
                                                )
12                  Defendants.                 )
                                                )
13
14         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15   Judgment and Sentencing scheduled for January 5, 2011 at 10:00 a.m. is continued to
16   February 2, 2012 at 10:00 a.m. in the same courtroom. The continuance is requested
17   because defense counsel recently concluded a trial in the Sacramento Superior Court and
18   needs additional time to prepare for the Pre-Sentence Report (PSR). Jason Hitt, Assistant
19   United States Attorney, and Thomas A. Johnson, Defendant’s attorney, both agree to this
20   continuance.
21
22   IT IS SO STIPULATED.
23
     DATED: October 26, 2011                         By:    /s/ Thomas A. Johnson
24                                                          THOMAS A. JOHNSON
                                                            Attorney for Defendant
25                                                          JOSHUA ORTEGA
26
27
28
                            Case 2:08-cr-00417-MCE Document 147 Filed 12/13/11 Page 2 of 4


     DATED: October 26, 2011                                         BENJAMIN WAGNER
 1                                                                   United States Attorney
 2                                                             By:    /s/ Thomas A. Johnson for
                                                                     JASON HITT
 3                                                                   Assistant United States Attorney
 4   IT IS SO ORDERED.
 5
     Dated: December 12, 2011
 6
 7                                                   __________________________________
                                                     MORRISON C. ENGLAND, JR
 8                                                   UNITED STATES DISTRICT JUDGE
 9   DEAC_Signatu re-END:




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 7                               IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                     )   Case No.: 2:08-cr-0417-MCE
10   UNITED STATES OF AMERICA,                       )
                                                     )   MODIFICATION OF SCHEDULE FOR
11                  Plaintiff,                       )   PRE-SENTENCE REPORT AND FOR
                                                     )   FILING OF OBJECTIONS TO THE PRE-
12        v.                                         )   SENTENCE REPORT
     JOSHUA ORTEGA, et. al,                          )
13                                                   )
                    Defendants.                      )
14                                                   )
15
      The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
16                                               this Court.

17   Date of Referral to Probation Officer:                       September 29, 2011
                                                                  (Date of Plea or Verdict)
18
19   Judgment and Sentencing date:                                February 2, 2012

20   Reply or Statement                                           January 26, 2012
21
     Motion for Correction of the Pre-Sentence
22   Report shall be filed with the court and                     January 19, 2012
     served on the Probation Officer and opposing
23   counsel no later than:
24
     The Pre-Sentence Report shall be filed with
25   the court and disclosed to counsel no later                  January 12, 2012
     than:
26
27   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                    January 5, 2012
28   Probation Officer and opposing counsel
     no later than:
                                    Case 2:08-cr-00417-MCE Document 147 Filed 12/13/11 Page 4 of 4



 1
     The proposed Pre-Sentence Report                                       December 22, 2011
 2   shall be disclosed to counsel no later than:

 3   Copies of this schedule are to be provided to the Probation Officer.
 4
                                   IT IS SO ORDERED.
 5
     Dated: December 12, 2011
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 7                                                           __________________________________
                                                             MORRISON C. ENGLAND, JR
 8                                                           UNITED STATES DISTRICT JUDGE
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